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                                                                                 United States District Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                                                                                     March 20, 2018
                          UNITED STATES DISTRICT COURT
                                                                                   David J. Bradley, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                       §
                                               §
VS.                                            §   MAG. JUDGE NO. 2:18-MJ-314-2
                                               §
APRIL NICOLE RYCHANEK                          §

 MEMORANDUM OPINION AND ORDER OF DETENTION PENDING TRIAL

       A detention hearing has been held in accordance with the Bail Reform Act, 18

U.S.C. § 3142(f). Detention of the defendant pending trial in this case is necessary

because there is a serious risk that the defendant will not appear.

       The evidence against the defendant meets the probable cause standard.                 The

defendant has recently been homeless and she has a history of substance abuse.

Additionally, her personal information has not been verified. Further, the defendant has a

lengthy criminal history, albeit most for misdemeanor offenses.            The findings and

conclusions contained in the Pretrial Services Report are adopted. The defendant is

ordered detained pending trial. The defense may move to reopen the detention hearing at

a later date if the defendant is able to present a suitable release plan and if the defendant’s

personal information is verified. The proposed release plan should be included in any

motion to reopen the detention hearing to allow the Court sufficient information to decide

whether to reopen the hearing.

       The defendant is committed to the custody of the United States Marshal or his

designated representative for confinement in a corrections facility separate, to the extent

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practicable, from persons awaiting or serving sentences or being held in custody pending

appeal. The defendant shall be afforded a reasonable opportunity for private consultation

with defense counsel. On order of a court of the United States or on request of an

attorney for the Government, the person in charge of the corrections facility shall deliver

the defendant to the United States Marshal for the purpose of an appearance in

connection with a court proceeding.

       ORDERED this 20th day of March, 2018.




                                             ___________________________________
                                                          Jason B. Libby
                                                   United States Magistrate Judge




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